         Case 4:19-cv-03594-YGR Document 17 Filed 09/30/19 Page 1 of 3


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 1   BURSOR & FISHER, P.A.                                        TES D      TC
                                                                TA
     L. Timothy Fisher (State Bar No. 191626)




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     1990 North California Blvd., Suite 940




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                                                                                                RT
     Walnut Creek, CA 94596                                                               D
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                                                                        OO
     Telephone: (925) 300-4455                                  IT IS S
 4   Facsimile: (925) 407-2700




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     E-Mail: ltfisher@bursor.com
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                                                                Judge Yv




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     BURSOR & FISHER, P.A.
 6   Scott A. Bursor (State Bar No. 276006)




                                                       RT




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     2665 S. Bayshore Dr., Suite 220                                      9/30/2019
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     Miami, FL 33133-5402
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                                                                                      F
 8
     Telephone: (305) 330-5512                                          D IS T IC T O
     Facsimile: (305) 676-9006                                                R
     E-Mail: scott@bursor.com
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10   Attorneys for Plaintiff

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12                              UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
14
     SHERON COOK, individually and on behalf of            Case No. 4:19-cv-03594-YGR
15   all others similarly situated,
16                                                         STIPULATION OF VOLUNTARY
                                         Plaintiff,        DISMISSAL PURSUANT TO FED. R.
17          v.                                             CIV. P. 41(a)(1)(A)(ii) AND ORDER

18   WESTAMERICA BANK,
19
                                       Defendant.
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     STIPULATION OF VOLUNTARY DISMISSAL
     CASE NO. 4:19-CV-03594-YGR
         Case 4:19-cv-03594-YGR Document 17 Filed 09/30/19 Page 2 of 3




 1           Plaintiff Sheron Cook and Defendant Westamerica Bank, by and through their respective
 2   attorneys, HEREBY STIPULATE AND AGREE, that pursuant to Federal Rule of Civil Procedure
 3   41(a)(1)(A)(ii), this entire action is dismissed in its entirety without prejudice as to Plaintiff’s
 4   individual claims against Westamerica Bank., and without prejudice as to the claims of the putative
 5   class members.
 6
     Dated: September 27, 2019               BURSOR & FISHER, P.A.
 7
                                             By:     /s/ L. Timothy Fisher
 8                                                       L. Timothy Fisher
 9                                           L. Timothy Fisher (State Bar No. 191626)
                                             1990 North California Blvd., Suite 940
10                                           Walnut Creek, CA 94596
                                             Telephone: (925) 300-4455
11                                           Facsimile: (925) 407-2700
                                             Email: ltfisher@bursor.com
12
                                             BURSOR & FISHER, P.A.
13                                           Scott A. Bursor (State Bar No. 276006)
                                             2665 S. Bayshore Dr., Suite 220
14                                           Miami, FL 33133-5402
                                             Telephone: (305) 330-5512
15                                           Facsimile: (305) 676-9006
                                             E-Mail: scott@bursor.com
16
                                             Attorneys for Plaintiff
17

18                                           By:     /s/ Jeffrey A. Topor
                                                         Jeffrey A. Topor
19

20                                           TOMIO B. NARITA (SBN 156576)
                                             tnarita@snllp.com
21                                           JEFFREY A. TOPOR (SBN 195545)
                                             jtopor@snllp.com
22                                           MARGARET T. CARDASIS (SBN 322167)
                                             mcardasis@snllp.com
23
                                             SIMMONDS & NARITA LLP
24                                           44 Montgomery Street, Suite 3010
                                             San Francisco, CA 94104-4816
25                                           Telephone: (415) 283-1000
                                             Facsimile: (415) 352-2625
26

27                                           Attorneys for Defendant

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     STIPULATION OF VOLUNTARY DISMISSAL                                                                     1
     CASE NO. 4:19-CV-03594-YGR
         Case 4:19-cv-03594-YGR Document 17 Filed 09/30/19 Page 3 of 3




 1
 2                                        FILER ATTESTATION
 3
             Pursuant to Civil Local Rule 5.1(i)(3), I, L. Timothy Fisher, attest under penalty of perjury
 4   that concurrence in the filing of this document has been obtained from all of the signatories.

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                                           By:     /s/ L. Timothy Fisher
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                                                       L. Timothy Fisher
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     STIPULATION OF VOLUNTARY DISMISSAL                                                                  2
     CASE NO. 4:19-CV-03594-YGR
